                                                   Case 3:24-cv-07135-WHO             Document 104   Filed 03/31/25   Page 1 of 3




                                               1   CATHERINE D. KEVANE (CSB No. 215501)
                                                   ckevane@fenwick.com
                                               2   BENJAMIN S. KINGSLEY (CSB No. 314192)
                                                   bkingsley@fenwick.com
                                               3   GREGORY P. ADAMS (CSB No. 292391)
                                                   gadams@fenwick.com
                                               4   FENWICK & WEST LLP
                                                   555 California Street, 12th Floor
                                               5   San Francisco, CA 94104
                                                   Phone: (415) 875-2392
                                               6   Fax: (415) 281-1350

                                               7   NICHOLAS POE (Admitted pro hac vice)
                                                   npoe@fenwick.com
                                               8   FENWICK & WEST LLP
                                                   902 Broadway, 18th Floor
                                               9   New York, NY 10010
                                                   Phone: (212) 430-2683
                                              10
                                                   Attorneys for Plaintiff
                                              11   Side, Inc.

                                              12   HOWARD M. SREBNICK (CSB No. 143226)
                                                   hsrebnick@royblack.com
F ENW ICK & W ES T LLP




                                                   BLACK SREBNICK
                         ATTO RNEY S AT LAW




                                              13
                                                   201 S Biscayne Boulevard, Suite 1300
                                              14   Miami, Florida 33131-4311
                                                   Phone: 305-371-6421
                                              15   Fax: 305-358-2006

                                              16   Attorneys for Defendants
                                                   Official Partners New York, LLC, Tal Alexander,
                                              17   and Oren Alexander

                                              18                                   UNITED STATES DISTRICT COURT

                                              19                             NORTHERN DISTRICT OF CALIFORNIA

                                              20                                      SAN FRANCISCO DIVISION

                                              21

                                              22   SIDE, INC.,                                       Case No.: 3:24-CV-07135-WHO

                                              23                      Plaintiff,                     STIPULATION AND [PROPOSED]
                                                                                                     ORDER TO EXTEND TIME TO FILE
                                              24          v.                                         REPLY

                                              25   OFFICIAL PARTNERS NEW YORK, LLC,                  Amended Complaint Filed: January 17, 2025
                                                   TAL ALEXANDER, and OREN ALEXANDER,                Trial Date: None
                                              26
                                                                      Defendants.
                                              27

                                              28

                                                   STIPULATION TO EXTEND TIME TO FILE REPLY                           Case No.: 3:24-CV-07135-WHO
                                                   Case 3:24-cv-07135-WHO           Document 104        Filed 03/31/25      Page 2 of 3



                                               1          Plaintiff Side, Inc. (“Plaintiff” or “Side”) and Defendants Official Partners New York, LLC,

                                               2   Tal Alexander, and Oren Alexander (collectively “Defendants”) hereby stipulate and agree by and

                                               3   through their counsel of record as follows:

                                               4          On March 10, 2025, Plaintiff filed a Motion to Enforce the Preliminary Injunction granted

                                               5   in this case against Defendants (“the Motion”) (Dkt. 92). On March 19, 2025, Defendants filed an

                                               6   expedited Motion to Modify the Preliminary Injunction (Dk. 94). On March 24, 2025, Defendants

                                               7   filed their opposition to the Motion (Dkt. 98). On March 25, 2025, Side filed its opposition to

                                               8   Defendants’ Motion to Modify the Preliminary Injunction (Dkt. 100). Finally, on March 26, 2025,

                                               9   the Court held a hearing on Defendants’ expedited Motion to Modify the Preliminary Injunction

                                              10   and directed the parties to confer and for Defendants to provide additional information to Side

                                              11   regarding Defendants’ proposed modifications to the Preliminary Injunction.

                                              12          Side’s Reply to Defendant’s Opposition to the Motion to Enforce the Preliminary Injunction
F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




                                              13   (Dkt. 98), is due on March 31, 2025, with a hearing set for April 16, 2025. The Parties are

                                              14   discussing resolution of this case. Additionally, the Parties are conferring regarding multiple other

                                              15   matters, including information Side has requested from Defendants regarding both Defendants’

                                              16   Motion to Modify the Preliminary Injunction and Defendants’ Opposition to the Motion. The

                                              17   Parties agree that extending the time for Side’s reply will allow settlement discussions to continue

                                              18   and provide Defendants with more time to provide information that Side has requested with respect

                                              19   to the Motion and thereby preserve judicial resources.

                                              20          To allow time for these various matters, the Parties stipulate and agree, and jointly request,

                                              21   that this Court extend the deadline for this filing seven days, to Monday, April 7, 2025.

                                              22          IT IS SO STIPULATED.

                                              23

                                              24

                                              25

                                              26
                                              27

                                              28


                                                   STIPULATION TO EXTEND TIME TO FILE REPLY         1                       Case No.: 3:24-CV-07135-WHO
                                                   Case 3:24-cv-07135-WHO           Document 104         Filed 03/31/25      Page 3 of 3




                                               1   Dated: March 30, 2025                                  BLACK SREBNICK

                                               2
                                                                                                     By: /s/ Howard M. Srebnick
                                               3                                                         HOWARD M. SREBNICK
                                                                                                         Attorneys for Defendants
                                               4                                                         Official Partners New York, LLC,
                                                                                                         Tal Alexander, and Oren Alexander
                                               5

                                               6

                                               7   Dated: March 30, 2025                                  FENWICK & WEST LLP

                                               8                                                     By: /s/ Catherine D. Kevane
                                               9                                                         CATHERINE D. KEVANE
                                                                                                         Attorneys for Plaintiff
                                              10                                                         Side, Inc.

                                              11

                                              12                                              ATTESTATION
F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




                                              13           Pursuant to Civil Local Rule 5-(i)(3), the filer of this document attests that all signatories

                                              14   have conferred in its filing.

                                              15                                                           /s/ Catherine D. Kevane
                                                                                                           Catherine D. Kevane
                                              16

                                              17

                                              18                                         [PROPOSED] ORDER
                                              19           Plaintiff Side’s time to file the reply memorandum in further support of the Motion to

                                              20   Modify the Preliminary Injunction is extended to April 7, 2025.

                                              21           IT IS SO ORDERED.

                                              22

                                              23   Dated: March 31, 2025
                                                                                                          Honorable William H. Orrick
                                              24                                                          United States District Judge
                                              25

                                              26
                                              27

                                              28


                                                   STIPULATION TO EXTEND TIME TO FILE REPLY          2                       Case No.: 3:24-CV-07135-WHO
